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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

NATIONAL ASSOCIATION FOR THE                 )
ADVANCEMENT OF COLORED                       )
PEOPLE,                                      )
                                             )
                      Plaintiff,             )
                                             )
v.                                           )       Civil Action No. 20-cv-2295 (EGS)
                                             )
UNITED STATES POSTAL SERVICE,                )
et al.,                                      )
                                             )
                      Defendants.            )
                                             )

                  MOTION FOR IMMEDIATE STATUS CONFERENCE

       Plaintiff respectfully submits that the certification provided by Defendants does not

comply with the Court’s order and respectfully requests an immediate status conference to

address next steps.

Dated: November 2, 2020                      Respectfully submitted,

                                            /s/ Allison M. Zieve
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